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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------- x
  CHEN LIN,
  JIANQUN ZHANG,
  DI PAN,
  BO LIU, and
  JIALIANG PAN,
                                               Plaintiffs,            Case No. 1:16-cv-02474-AMD-
                                                                      RML
                                   v.
                                                                      29 U.S.C. § 216(B)
  THE DOLAR SHOP RESTAURANT GROUP, LLC                                COLLECTIVE ACTION AND
           d/b/a Dolar Shop,                                          RULE 23 CLASS ACTION
  SHANGHAI SHENZHUANG THE DOLAR SHOP
           CATERING MANAGEMENT CO., LTD.,                             FIRST AMENDED
  YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung,                        COMPLAINT
  TZU CHEUNG a/k/a Tzu Yen Cheung a/k/a Ken
           Cheung,
  GE LI a/k/a Jerry Li.
  QIN BO LIANG a/k/a Alvin Liang,
  ZHONG BAO YUAN,
  QIN CHUN GAO,
  YING NAN QI a/k/a Frank Qi,
  XIN FENG WANG a/k/a Ruby Wang, and
  XIANG CHAO LIU,
                                               Defendants.
   ---------------------------------------------------------------- x

         Plaintiffs CHEN LIN, JIANQUN ZHANG, DI PAN, BO LIU, and JIALIANG PAN,

 (collectively “Plaintiffs”), on behalf of themselves and other similarly situated employees, by and

 through the undersigned attorneys, Troy Law, PLLC, file this complaint against Defendants THE

 DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop, SHANGHAI SHENZHUANG

 THE DOLAR SHOP CATERING MANAGEMENT CO., LTD., YU ZHANG a/k/a Yu Cheung



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 a/k/a Suzie Cheung, TZU CHEUNG a/k/a Tzu Yen Cheung a/k/a Ken Cheung, GE LI a/k/a Jerry

 Li. QIN BO LIANG a/k/a Alvin Liang, ZHONG BAO YUAN, QIN CHUN GAO, YING NAN

 QI a/k/a Frank Qi, XIN FENG WANG a/k/a Ruby Wang, and XIANG CHAO LIU (collectively

 “Defendants”) and allege as follows:

                                          INTRODUCTION

         1. This action is brought by Plaintiffs, on behalf of themselves as well as other similarly

 situated employees against Defendants for alleged violations of the Federal Labor Standards Act,

 (“FLSA”) 29 U.S.C. § 201 et seq. and of the New York Labor Law (NYLL), arising from

 Defendants’ various willful and unlawful employment policies, patterns and/or practices.

         2. Upon information and belief, Defendants have willfully and intentionally committed

 widespread violations of the FLSA and NYLL by engaging in a pattern and practice of failing to

 pay its employees, including Plaintiffs, minimum wage and overtime compensation for all hours

 worked over forty (40) each workweek.

         3. Defendants refused to record all of the time that Plaintiffs and similarly situated

 employed by Entity Defendants work or worked, including work done in excess of forty hours

 each week.

         4. Plaintiffs allege pursuant to the FLSA, that they are entitled to recover from the

 Defendants: (1) unpaid minimum wage, (2) unpaid overtime wages, (3) liquidated damages, (4)

 prejudgment and post-judgment interest; and/or (5) attorneys’ fees and costs.

         5. Plaintiffs further allege pursuant to New York Labor Law § 650 et seq. and 12 New York

 Codes, Rules and Regulations §§ 146 (“NYCRR”) that they are entitled to recover from the

 Defendants: (1) unpaid minimum wage compensation, (2) unpaid overtime compensation, (3) up to five

 thousand dollars ($5,000) per Plaintiff for Defendants’ failure to provide a Time of Hire Notice

 detailing rates of pay and payday, (4) up to five thousand dollars ($5,000) per Plaintiff for


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 Defendants’ failure to provide a paystub that accurately and truthfully lists employee’s hours along

 with the name, employer’s name, employer’s address and telephone number, employee’s rate or

 rates of pay, any deductions made from employee’s wages, any allowances claimed as part of the

 minimum wage, and the employee’s gross and net wages for each pay day, (5) liquidated damages

 equal to the sum of unpaid minimum wage, unpaid “spread of hours” premium, unpaid overtime

 in the amount of twenty five percent under NYLL §§190 et seq., §§650 et seq., and one hundred

 percent after April 9, 2011 under NY Wage Theft Prevention Act, (6) 9% simple prejudgment

 interest provided by NYLL, (7) post-judgment interest, and (8) attorney’s fees and costs.

                                    JURISDICTION AND VENUE

         6. This Court has original federal question jurisdiction under 28 U.S.C. §1331 because this

 case is brought under the Fair Labor Standards Act (“FLSA”). This Court has supplemental

 jurisdiction over the New York State law claims, as they are so related to claims in this section

 within the Court’s original jurisdiction that they form part of the same case or controversy under

 Article III of the United States Constitution.

         7. Venue is proper in this District because Defendants conduct business in this District and

 the acts and/or omissions giving rise to the claims herein alleged took place in this District.

                                             THE PARTIES

 PLAINTIFFS

         8. Plaintiff CHEN LIN was employed by THE DOLAR SHOP RESTAURANT GROUP,

 LLC d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354 from November 7, 2015 to

 March 23, 2016.

         9. Plaintiff JIANQUN ZHANG was employed by THE DOLAR SHOP RESTAURANT

 GROUP, LLC d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354 from November 7,

 2015 to April 5, 2016.


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         10. Plaintiff DI PAN was employed by THE DOLAR SHOP RESTAURANT GROUP, LLC

 d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354 from December 1, 2015 to April 5,

 2016.

         11. Plaintiff BO LIU was employed by THE DOLAR SHOP RESTAURANT GROUP, LLC

 d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354 from November 7, 2015 to April 5,

 2016.

         12. Plaintiff JIALIANG PAN was employed by THE DOLAR SHOP RESTAURANT

 GROUP, LLC d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354 from November 7,

 2015 to April 5, 2016.

 DEFENDANTS

 Entity Defendant THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop

         13. Defendant THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop is a

 domestic New York limited liability company that is incorporated on November 24, 2014 with a

 principal place of business at 36-36 Prince Street, Flushing, NY 11354.

         14. THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop is a business

 engaged in interstate commerce that has gross sales in excess of Five Hundred Thousand Dollars

 ($500,000) per year.

         15. THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop purchased and

 handled goods moved in interstate commerce.

         16. THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop operates the New

 York hotspot store of Dolar Shop, a Chinese hotpot chain based in Shanghai, China, with other hot

 spot locations in Shanghai, Beijing, Nanjing, Hangzhou, Taichang, Wuhan, Changsa, Zhuhai,

 Macau, Suzhou, Hengyang, Zhuzhou, Wuxi, Zhangjiagang, and Indonesia.

         17. SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,


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 LTD., the management corporation of Dolar Shop, entered into a joint venture agreement with YU

 ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung, whereby SHANGHAI SHENZHUANG THE

 DOLAR SHOP CATERING MANAGEMENT CO., LTD. retained fifty one percent (51%) of the

 ownership of THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop as well as

 any other Dolar Shop restaurants opened by YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung.

         18. Per the terms of its joint venture agreement with YU ZHANG a/k/a Yu Cheung a/k/a Suzie

 Cheung, SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,

 LTD. was to be responsible for providing technical and management staff to THE DOLAR SHOP

 RESTAURANT GROUP, LLC d/b/a Dolar Shop; for determining the core management

 techniques of, among other things, operation and human resources for THE DOLAR SHOP

 RESTAURANT GROUP, LLC d/b/a Dolar Shop; for providing training handbooks for use by the

 management of THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop in, among

 other things, learning the brand identity and corporate culture of Dolar Shop and the technical

 skills and processes of their positions; for determining the design, furnishing, and style of THE

 DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop;

         19. At all relevant times, the work performed by Plaintiffs was directly essential to the

 businesses operated by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop.

 Entity Defendant SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING
 MANAGEMENT CO., LTD.

         20. Defendant   SHANGHAI       SHENZHUANG         THE     DOLAR      SHOP    CATERING

 MANAGEMENT CO., LTD. is a foreign Chinese corporation that is incorporated on November

 19, 2009 with a principal place of business at Room 3401, Building 1, Hui Cui Garden, Lane 737,

 Caoxi North Road, Shanghai.

         21. SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,



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 LTD. has the registration number 913101126972469580 in China.

         22. SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,

 LTD. is a business engaged in interstate commerce that has gross sales in excess of Five Hundred

 Thousand Dollars ($500,000) per year.

         23. SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,

 LTD. purchased and handled goods moved in interstate commerce.

         24. Together with THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop,

 SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO., LTD.

 operates the New York hotspot store of Dolar Shop, a Chinese hotpot chain based in Shanghai,

 China, with other hot spot locations in Shanghai, Beijing, Nanjing, Hangzhou, Taichang, Wuhan,

 Changsa, Zhuhai, Macau, Suzhou, Hengyang, Zhuzhou, Wuxi, Zhangjiagang, and Indonesia.

         25. Upon information and belief, SHANGHAI SHENZHUANG THE DOLAR SHOP

 CATERING MANAGEMENT CO., LTD. also operates Dolar Shop’s other hotspot locations.

         26. SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,

 LTD. is the management corporation of Dolar Shop.

         27. SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,

 LTD. entered into a joint venture agreement with YU ZHANG a/k/a Yu Cheung a/k/a Suzie

 Cheung,       whereby    SHANGHAI       SHENZHUANG         THE    DOLAR      SHOP    CATERING

 MANAGEMENT CO., LTD. retained fifty one percent (51%) of the ownership of THE DOLAR

 SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop as well as any other Dolar Shop

 restaurants opened by YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung.

         28. Per the terms of its joint venture agreement with YU ZHANG a/k/a Yu Cheung a/k/a Suzie

 Cheung, SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO.,




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 LTD. was to be responsible for providing technical and management staff to THE DOLAR SHOP

 RESTAURANT GROUP, LLC d/b/a Dolar Shop; for determining the core management

 techniques of, among other things, operation and human resources for THE DOLAR SHOP

 RESTAURANT GROUP, LLC d/b/a Dolar Shop; for providing training handbooks for use by the

 management of THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop in, among

 other things, learning the brand identity and corporate culture of Dolar Shop and the technical

 skills and processes of their positions; for determining the design, furnishing, and style of THE

 DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop;

         29. At all relevant times, the work performed by Plaintiffs was directly essential to the

 businesses operated by SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING

 MANAGEMENT CO., LTD.

 Owner/Operator Defendant YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung

         30. Defendant YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung, known as “Lady Boss,” to

 Plaintiffs is the owner, operator, manager, principal and/or agent of the THE DOLAR SHOP

 RESTAURANT GROUP, LLC d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354.

         31. YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung has a 49% ownership interest in THE

 DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop. SHANGHAI SHENZHUANG

 THE DOLAR SHOP CATERING MANAGEMENT CO., LTD. owns the remainder.

         32. Defendant YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung exercises sufficient controls

 of the Dolar Shop’s day-to-day operations to be considered an employer of Plaintiffs and those

 similarly situated under the FLSA and NYLL.

 Owner/Operator Defendant TZU CHEUNG a/k/a Tzu Yen Cheung a/k/a Ken Cheung

         33. Defendant TZU CHEUNG a/k/a Tzu Yen Cheung a/k/a Ken Cheung, known as “Boss,” to

 Plaintiffs is the operator, manager, principal and/or agent of the THE DOLAR SHOP


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 RESTAURANT GROUP, LLC d/b/a Dolar Shop at 36-36 Prince Street, Flushing, NY 11354.

         34. Defendant TZU CHEUNG a/k/a Tzu Yen Cheung a/k/a Ken Cheung exercises sufficient

 controls of the Dolar Shop’s day-to-day operations to be considered an employer of Plaintiffs and

 those similarly situated under the FLSA and NYLL.

         35. TZU CHEUNG a/k/a Tzu Yen Cheung a/k/a Ken Cheung and YU ZHANG a/k/a Yu

 Cheung a/k/a Suzie Cheung are husband and wife.

 Owner/Operator Defendant GE LI a/k/a Jerry Li

         36. Defendant GE LI a/k/a Jerry Li is a 22% shareholder and Chief Executive Officer of

 SHANGHAI SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO., LTD.

         37. GE LI a/k/a Jerry Li is responsible for implementing SHANGHAI SHENZHUANG THE

 DOLAR SHOP CATERING MANAGEMENT CO., LTD.’s part of the operating agreement with

 YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung, including but not limited to appointing and

 terminating managers to train and supervise the day-to-day managers of Dolar Shop on Prince

 Street

         38. Defendant GE LI a/k/a Jerry Li exercises sufficient controls of the Dolar Shop’s day-to-

 day operations to be considered an employer of Plaintiffs and those similarly situated under the

 FLSA and NYLL.

 Owner/Operator Defendant QIN BO LIANG a/k/a Alvin Liang

         39. Upon information and belief, Defendant QIN BO LIANG a/k/a Alvin Liang is an officer

 or       principal   of   SHANGHAI      SHENZHUANG          THE    DOLAR      SHOP     CATERING

 MANAGEMENT CO., LTD., with the title “Project Coordinator.”

         40. QIN BO LIANG a/k/a Alvin Liang is responsible for implementing SHANGHAI

 SHENZHUANG THE DOLAR SHOP CATERING MANAGEMENT CO., LTD.’s part of the

 operating agreement with YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung, including but not


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 limited to appointing and terminating managers to train and supervise the day-to-day managers of

 Dolar Shop on Prince Street

         41. Defendant QIN BO LIANG a/k/a Alvin Liang exercises sufficient controls of the Dolar

 Shop’s day-to-day operations to be considered an employer of Plaintiffs and those similarly

 situated under the FLSA and NYLL.

 Owner/Operator Defendant ZHONG BAO YUAN

         42. Defendant ZHONG BAO YUAN is a 66% shareholder of SHANGHAI SHENZHUANG

 THE DOLAR SHOP CATERING MANAGEMENT CO., LTD.

         43. ZHONG BAO YUAN is responsible for implementing SHANGHAI SHENZHUANG

 THE DOLAR SHOP CATERING MANAGEMENT CO., LTD.’s part of the operating agreement

 with YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung, including but not limited to appointing

 and terminating managers to train and supervise the day-to-day managers of Dolar Shop on Prince

 Street

         44. Defendant ZHONG BAO YUAN exercises sufficient controls of the Dolar Shop’s day-to-

 day operations to be considered an employer of Plaintiffs and those similarly situated under the

 FLSA and NYLL.

 Owner/Operator Defendant QIN CHUN GAO

         45. Defendant QIN CHUN GAO is a 9% shareholder of SHANGHAI SHENZHUANG THE

 DOLAR SHOP CATERING MANAGEMENT CO., LTD.

         46. QIN CHUN GAO is responsible for implementing SHANGHAI SHENZHUANG THE

 DOLAR SHOP CATERING MANAGEMENT CO., LTD.’s part of the operating agreement with

 YU ZHANG a/k/a Yu Cheung a/k/a Suzie Cheung, including but not limited to appointing and

 terminating managers to train and supervise the day-to-day managers of Dolar Shop on Prince

 Street


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          47. Defendant QIN CHUN GAO exercises sufficient controls of the Dolar Shop’s day-to-day

  operations to be considered an employer of Plaintiffs and those similarly situated under the FLSA

  and NYLL.

  Owner/Operator Defendant YING NAN QI a/k/a Frank Qi

          48. Defendant YING NAN QI a/k/a Frank Qi, known as “Supervisor,” to Plaintiffs is one of

  several managers of the THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop at

  36-36 Prince Street, Flushing, NY 11354 dispatched by the Chinese headquarter of the Dolar Store

  to its New York hotpot restaurant.

          49. Defendant YING NAN QI a/k/a Frank Qi exercises sufficient controls of the Dolar Shop’s

  day-to-day operations to be considered an employer of Plaintiffs and those similarly situated under

  the FLSA and NYLL.

          50. All four Owner/Operator Defendants (1) had the power to hire and fire employees, (2)

  supervised and controlled employee work schedules or conditions of employment, (3) determined

  the rate and method of payment, and (4) maintained employee records.

          51. The four Owner/Operator Defendants require Plaintiffs and other Dolar Store employees

  to clock in. But at 24:00, though frequently Plaintiffs and other Dolar Store employees continued

  to work for Dolar Store, the four Owner would clock Plaintiffs out.

          52. Dolar Shop managers XIN FENG WANG a/k/a Ruby Wang and YING NAN QI a/k/a

  Frank Qi have the power to hire and fire and in fact did personally interview and hire and fire the

  wait staff at THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop, including

  Plaintiffs LIN CHEN, JIANQUN ZHANG, DI PAN, BO LIU, and JIALING PAN.

          53. Dolar Shop managers XIN FENG WANG a/k/a Ruby Wang and YING NAN QI a/k/a

  Frank Qi have the power and did exercise the power to assign wait staff to one of three work

  schedules (Schedule A, B, or C) in conjunction with Dolar Shop managers XIN FENG WANG


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  a/k/a Ruby Wang and YING NAN QI a/k/a Frank Qi.

          54. Dolar Shop managers XIN FENG WANG a/k/a Ruby Wang and YING NAN QI a/k/a

  Frank Qi would assign Plaintiff wait staff to do side jobs, including to blot out dishes on the menu

  that the restaurant does not have, along with other miscellaneous side jobs almost every day,

  including buying restaurant goods for the store.

          55. In response to the wait staff’s complaint that waiters received only customer gratuities

  without any base pay at one of the daily mandatory meetings between the wait staff and the

  owner/management between 16:45 and 17:00, Manager XIN FENG WANG communicated with

  YU ZHANG and her husband TZU CHEUNG.

          56. In consultation with YU ZHANG and her husband TZU CHEUNG, Manager XIN FENG

  WANG announced Defendants’ decision to institute a monthly payment of two hundred dollars

  ($200) each month on December 1, 2015.

          57. Dolar Shop owner YU ZHANG, as the cashier, determined how much each Plaintiff will

  be paid in check and in cash each payday when she cuts the paychecks.

  Owner/Operator Defendant XIN FENG WANG a/k/a Ruby Wang

          58. Defendant XIN FENG WANG a/k/a Ruby Wang, known as “Manager,” to Plaintiffs is one

  of several managers of the THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop

  at 36-36 Prince Street, Flushing, NY 11354 dispatched by the Chinese headquarter of the Dolar

  Store to its New York hotpot restaurant.

          59. Defendant XIN FENG WANG a/k/a Ruby Wang exercises sufficient controls of the Dolar

  Shop’s day-to-day operations to be considered an employer of Plaintiffs and those similarly

  situated under the FLSA and NYLL.

  Owner/Operator Defendant XIANG CHAO LIU

          60. Defendant XIANG CHAO LIU, known as “Manager,” to Plaintiffs is one of several


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  managers of the THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop at 36-36

  Prince Street, Flushing, NY 11354 dispatched by the Chinese headquarter of the Dolar Store to its

  New York hotpot restaurant.

          61. Defendant XIANG CHAO LIU exercises sufficient controls of the Dolar Shop’s day-to-

  day operations to be considered an employer of Plaintiffs and those similarly situated under the

  FLSA and NYLL.

                                        STATEMENT OF FACTS

          62. Defendants committed the following alleged acts knowingly, intentionally and willfully

  against the Plaintiffs, the FLSA Collective Plaintiffs, and the Class.

          63. Pursuant to NYCRR Part 146-2.2 and 29 USC 203 (m), an employer cannot take credit

  towards the basic minimum wage if a service employee or food service worker has not received

  notification of the tip credit.

          64. Further, Plaintiffs were required to commit part of their work day in non-tipped work.

          65. For instance, Plaintiffs JUNMIN SHEN and YUZHU WANG are required to chop

  vegetables, do the dishes, mop the fool, peel the shrimp, prepare the pepper and onion for two to

  three hours each day.

          66. Upon information and belief, this non-tipped work exceeds two hours or twenty percent

  (20%) of the Plaintiffs’ workday.

          67. At all relevant times, Defendants knowingly and willfully failed to pay Plaintiffs and

  similarly situated employees at least the New York minimum wage for each hour worked.

          68. At all relevant times, Defendants knowingly and willfully failed to pay Plaintiffs their

  lawfully overtime compensation of one and one half times (1.5x) their regular rate of pay for all

  hours worked over forty (40) in a given workweek.

          69. While employed by Defendants, Plaintiffs were not exempt under federal and state laws


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  requiring employers to pay employees overtime.

          70. Defendants failed to keep full and accurate records of Plaintiffs’ hours and wages.

          71. Upon information and belief, Defendants failed to keep full and accurate records in order

  to mitigate liability for their wage violations. Defendants never furnished any notice of their use

  of tip credit.

          72. At all relevant times, Defendants knowingly and willfully failed to provide Plaintiffs and

  similarly situated employees with Time of Hire Notice in English and in Chinese (Plaintiffs’

  primary language) reflecting true rates of pay and payday as well as paystub that lists employee’s

  name, employer’s name, employer’s address and telephone number, employee’s rate or rates of

  pay, any deductions made from employee’s wages, any allowances claimed as part of the minimum

  wage, and the employee’s gross and net wages for each pay day as required by NYLL §195(1).

          73. Defendants knew that the nonpayment of overtime pay and New York’s “spread of hours”

  premium for every day in which Plaintiff worked over ten (10) hours would financially injure

  Plaintiffs and similarly situated employees and violate state and federal laws.

          74. Defendants did not post the required New York State Department of Labor posters

  regarding minimum wage pay rates, overtime pay, tip credit, and pay day.

  Plaintiff CHEN LIN

          75. From on or about November 7, 2015 to March 23, 2016, Plaintiff CHEN LIN was

  employed by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop located at 36-

  36 Prince Street, Flushing, NY 11354 as a waiter.

          76.      From November 7, 2015 to November 9, 2015, Plaintiff CHEN LIN’s regular work

  schedule ran from 10:00 to 24:00 for fourteen (14) hours a day, and forty two (42) hours a week,

  with no break.

          77.      From November 10, 2015 to November 30, 2015, Plaintiff CHEN LIN’s regular work


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  schedule ran from 09:30 to 20:30 for eleven (11) hours a day for six (6) days a week, and sixty six

  (66) hours a week with one day off.

          78.   However, Plaintiff CHEN LIN was required to stay until and even past 21:15, every

  day, staying over his designated work schedule for around forty five (45) minutes each day, and

  four and a half (4.5) hours each week.

          79.   Though Plaintiff CHEN LIN was given a lunch break period between 15:00-17:00,

  he has to help out with side work assigned to him by the manager or as the restaurant requires

  almost every day.

          80.   Furthermore, each day from 16:45-17:00, he, along the rest of Dolar Shop employees

  are required to be at a meeting between managers and managers, who would discuss how they

  could best improve upon customer service.

          81.   As a result, Plaintiff CHEN LIN worked for a total of seventy and a half (70.5) hours

  each workweek.

          82.   From December 1, 2015 to March 23, 2016, Plaintiff CHEN LIN’s regular work

  schedule ran from 12:00 to 22:30 for four (4) days during the weekdays, and from 11:30-22:30 on

  Saturdays and Sundays, for two (2) days a week, with one day off, for a total of sixty four (64)

  hours each week.

          83.   From November 7, 2015 to November 30, 2015, Plaintiff CHEN LIN was not paid at

  all by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop.

          84.   From December 1, 2015 to March 23, 2016, Plaintiff CHEN LIN was paid a flat

  compensation of two hundred dollars ($200) each month.

          85.   At all relevant times, Plaintiff CHEN LIN was also not informed of his hourly pay

  rate or any tip deductions toward the minimum wage, and he was not paid overtime pay for




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  overtime work.

          86.     Defendants never informed Plaintiff CHEN LIN that they were taking tip credit

  towards the minimum wage.

          87.     Plaintiff CHEN LIN was not compensated at least at one-and-one-half of the

  minimum wage or his calculated hourly wage, whichever is greater, for all hours worked above

  forty (40) in each workweek.

          88.     Plaintiff CHEN LIN was not compensated for New York’s “spread of hours”

  premium for shifts that lasted longer than ten (10) hours.

  Plaintiff JIANQUN ZHANG

          89. From on or about November 7, 2015 to April 5, 2016, Plaintiff JIANQUN ZHANG was

  employed by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop located at 36-

  36 Prince Street, Flushing, NY 11354 as a waiter.

          90.     From November 7, 2015 to November 9, 2015, Plaintiff JIANQUN ZHANG’s

  regular work schedule ran from 10:00 to 24:00 for fourteen (14) hours a day, and forty two (42)

  hours a week, with no break.

          91.     From November 10, 2015 to January 10, 2016, Plaintiff JIANQUN ZHANG’s

  regular work schedule ran from 13:00 to 24:00 for eleven (11) hours a day for six (6) days a week,

  with one day off, with no break.

          92.     However, Plaintiff JIANQUN ZHANG was required to stay over her designated work

  schedule every day.

          93.     From January 11, 2016 to March 6, 2016, Plaintiff JIANQUN ZHANG’s regular

  work schedule ran from 14:00 to 24:00 for ten (10) hours a day for six (6) days a week and sixty

  (60) hours a week, with one (1) day off, with no break.

          94.     From March 7, 2016 to April 5, 2016, Plaintiff JIANQUN ZHANG’s regular work


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  schedule ran from 12:00 to 22:30 for six (6) days a week, for sixty three (63) hours each week.

          95.    Though Plaintiff JIANQUN ZHANG was given a lunch break period between 15:00-

  17:00, he has to help out with side work assigned to her by the manager or as the restaurant requires

  almost every day.

          96.    Furthermore, each day from 16:45-17:00, she, along the rest of Dolar Shop

  employees are required to be at a meeting between managers and managers, who would discuss

  how they could best improve upon customer service.

          97.    Plaintiff JIANQUN ZHANG was not given a dinner break. He was told to eat dinner

  after business hours.

          98.    From November 7, 2015 to November 30, 2015, Plaintiff JIANQUN ZHANG was

  not paid at all by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop.

          99.    From December 1, 2015 to April 5, 2016, Plaintiff JIANQUN ZHANG was paid a

  flat compensation of two hundred dollars ($200) each month.

          100.   At all relevant times, Plaintiff JIANQUN ZHANG was also not informed of her

  hourly pay rate or any tip deductions toward the minimum wage, and he was not paid overtime

  pay for overtime work.

          101.   Defendants never informed Plaintiff JIANQUN ZHANG that they were taking tip

  credit towards the minimum wage.

          102.   Plaintiff JIANQUN ZHANG was not compensated at least at one-and-one-half of the

  minimum wage or her calculated hourly wage, whichever is greater, for all hours worked above

  forty (40) in each workweek.

          103.   Plaintiff JIANQUN ZHANG was not compensated for New York’s “spread of hours”

  premium for shifts that lasted longer than ten (10) hours.




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  Plaintiff DI PAN

          104.    From on or about December 1, 2015 to April 5, 2016, Plaintiff CHEN LIN was

  employed by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop located at 36-

  36 Prince Street, Flushing, NY 11354 as a waiter.

          105.   From December 1, 2015 to March 6, 2016, Plaintiff DI PAN’s regular work schedule

  ran from 15:00 to 25:30 (01:30 of the next day) for ten and a half (10.5) hours a day, and sixty

  three (63) hours a week, with no break.

          106.   During this period, Defendants would clock Plaintiff DI PAN out at 24:00, even

  though he continued working till 25:30.

          107.   From March 7, 2016 to April 5, 2016, Plaintiff DI PAN’s regular work schedule ran

  from 12:00-22:30 for ten and a half (10.5) hours a day for six (6) days a week, and sixty three (63)

  hours a week, with no break.

          108.   Though Plaintiff DI PAN was given a lunch break period between 15:00-17:00, he

  has to help out with side work assigned to him by the manager or as the restaurant requires almost

  every day.

          109.   From November 7, 2015 to November 30, 2015, Plaintiff DI PAN was not paid at all

  by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop.

          110.   From December 1, 2015 to April 5, 2016, Plaintiff DI PAN was paid a flat

  compensation of two hundred dollars ($200) each month.

          111.   At all relevant times, Plaintiff DI PAN was also not informed of his hourly pay rate

  or any tip deductions toward the minimum wage, and he was not paid overtime pay for overtime

  work.

          112.   Defendants never informed Plaintiff DI PAN that they were taking tip credit towards

  the minimum wage.


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          113.    Plaintiff DI PAN was not compensated at least at one-and-one-half of the minimum

  wage or his calculated hourly wage, whichever is greater, for all hours worked above forty (40) in

  each workweek.

          114.    Plaintiff DI PAN was not compensated for New York’s “spread of hours” premium

  for shifts that lasted longer than ten (10) hours.

          Plaintiff BO LIU

          115.      From on or about November 7, 2015 to April 5, 2016, Plaintiff BO LIU was

  employed by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop located at 36-

  36 Prince Street, Flushing, NY 11354 as a waiter.

          116.    From November 7, 2015 to November 9, 2015, Plaintiff BO LIU’s regular work

  schedule ran from 10:00 to 24:00 for fourteen (14) hours a day, and forty two (42) hours a week,

  with no break.

          117.    From November 10, 2015 to January 3, 2016, Plaintiff BO LIU’s regular work

  schedule ran from 15:00 to 25:30 (01:30 of the next day) for ten and a half (10.5) hours a day, and

  sixty three (63) hours a week, with no break.

          118.    During this period, Defendants would clock Plaintiff BO LIU out at 24:00, even

  though he continued working till 25:30.

          119.    From January 4, 2016 to April 5, 2016, Plaintiff BO LIU’s regular work schedule ran

  from 12:00 to 22:30 for four (4) days during the weekdays, and from 11:30-22:30 on Saturdays

  and Sundays, for two (2) days a week, with one day off, for a total of sixty four (64) hours each

  week.

          120.    However, he stayed around fifteen (15) additional minutes each day and one and a

  half hour each week, for a total of sixty five and a half (65.5) hours each workweek.

          121.    Plaintiff BO LIU was not given a dinner break. He was told to eat dinner after


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  business hours.

          122.   From November 7, 2015 to November 30, 2015, Plaintiff BO LIU was not paid at all

  by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop.

          123.   From December 1, 2015 to April 5, 2016, Plaintiff BO LIU was paid a flat

  compensation of two hundred dollars ($200) each month.

          124.   At all relevant times, Plaintiff BO LIU was also not informed of his hourly pay rate

  or any tip deductions toward the minimum wage, and he was not paid overtime pay for overtime

  work.

          125.   Defendants never informed Plaintiff BO LIU that they were taking tip credit towards

  the minimum wage.

          126.   Plaintiff BO LIU was not compensated at least at one-and-one-half of the minimum

  wage or his calculated hourly wage, whichever is greater, for all hours worked above forty (40) in

  each workweek.

          127.   Plaintiff BO LIU was not compensated for New York’s “spread of hours” premium

  for shifts that lasted longer than ten (10) hours.

  Plaintiff JIALIANG PAN

          128.    From on or about November 7, 2015 to April 5, 2016, Plaintiff JIALIANG PAN

  was employed by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop located

  at 36-36 Prince Street, Flushing, NY 11354 as a waiter.

          129.   From November 7, 2015 to November 9, 2015, Plaintiff JIALIANG PAN’s regular

  work schedule ran from 10:00 to 24:00 for fourteen (14) hours a day, and forty two (42) hours a

  week, with no break.

          130.   From November 10, 2015 to April 5, 2016, Plaintiff worked in the “A shift” for

  three months and the “C shift” for two months.


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                 a. Plaintiff JIALIANG PAN’s regular “A shift” work schedule ran from 11:00 to

             21:30 for four (4) days during the weekdays, and from 10:30-21:30 on Saturdays and

             Sundays, for six (2) days a week, with one day off, for a total of sixty four (64) hours

             each week.

                 b. Plaintiff JIALIANG PAN’s regular “C shift” work schedule ran from 12:00 to

             22:30 for four (4) days during the weekdays, and from 11:30-22:30 on Saturdays and

             Sundays, for six (2) days a week, with one day off, for a total of sixty four (64) hours

             each week.

          131.      From November 7, 2015 to November 30, 2015, Plaintiff JIALIANG PAN was

  not paid at all by THE DOLAR SHOP RESTAURANT GROUP, LLC d/b/a Dolar Shop.

          132.      From December 1, 2015 to April 5, 2016, Plaintiff JIALIANG PAN was paid a

  flat compensation of two hundred dollars ($200) each month.

          133.      At all relevant times, Plaintiff JIALIANG PAN was also not informed of his

  hourly pay rate or any tip deductions toward the minimum wage, and he was not paid overtime

  pay for overtime work.

          134.      Defendants never informed Plaintiff JIALIANG PAN that they were taking tip

  credit towards the minimum wage.

          135.      Plaintiff JIALIANG PAN was not compensated at least at one-and-one-half of the

  minimum wage or his calculated hourly wage, whichever is greater, for all hours worked above

  forty (40) in each workweek.

          136.      Plaintiff JIALIANG PAN was not compensated for New York’s “spread of

  hours” premium for shifts that lasted longer than ten (10) hours.

                               COLLECTIVE ACTION ALLEGATIONS

          137.      Plaintiffs bring this action individually and as class representative individually and


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  on behalf of all other and former non-exempt deliverymen, servers, busboys, and kitchen staff who

  have been or were employed by the Defendants for up to the last three (3) years, through entry of

  judgment in this case (the “Collective Action Period”) and whom were not compensated at least

  the hourly minimum wage and/or overtime compensation for all hours worked in excess of forty

  (40) hours per week (the “Collective Action Members”).

                                  CLASS ACTION ALLEGATIONS

          138.     Plaintiffs bring their NYLL claims pursuant to Federal Rules of Civil Procedure

  (“F. R. C. P.”) Rule 23, on behalf of all non-exempt personnel employed by Defendants on or after

  the date that is six years before the filing of the Complaint in this case as defined herein (the “Class

  Period”).

          139.     All said persons, including Plaintiffs, are referred to herein as the “Class.”

          140.     The Class members are readily ascertainable. The number and identity of the Class

  members are determinable from the records of Defendants. The hours assigned and worked, the

  positions held, and the rate of pay for each Class Member is also determinable from Defendants’

  records. For purpose of notice and other purposes related to this action, their names and addresses

  are readily available from Defendants. Notice can be provided by means permissible under said

  F.R.C.P 23.

          Numerosity

          141.     The proposed Class is so numerous that joinder of all members is impracticable,

  and the disposition of their claims as a class will benefit the parities and the Court. Although the

  precise number of such persons is unknown, and the facts on which the calculation of the number

  is presently within the sole control of the Defendants, upon information and belief, there are

  more than forty (40) members of the class.




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          Commonality

          142.         There are questions of law and fact common to the Class which predominate over

  any questions affecting only individual class members, including:

                 a.    Whether Defendant employed Plaintiffs and the Class within the meaning of the

             New York law;

                 b. Whether Plaintiffs and Class members are paid at least the minimum wage for each

             hour worked under the New York Labor Law;

                 c. Whether Plaintiffs and Class members are entitled to and paid overtime under the

             New York Labor Law;

                 d. Whether Defendants maintained a policy, pattern and/or practice of failing to pay

             Plaintiffs and the Rule 23 Class spread-of-hours pay as required by the NYLL;

                 e. Whether Defendants maintained a common policy, pattern and/or practice of failing

             to provide requisite statutory meal periods for lunch and/or dinner;

                 f. Whether Defendants provided a Time of Hire Notice detailing rates of pay and

             payday at the start of Plaintiffs and the Rule 23 Class’s start of employment and/or or

             timely thereafter;

                 g. Whether Defendants provided paystubs detailing the rates of pay and credits taken

             towards the minimum wage to Plaintiffs and the Rule 23 class on each payday;

                 h. Whether Defendants deliberately shaved time off of the clock-in/clock-out system;

                 i. At what common rate, or rates subject to common method of calculation was and

             is Defendants required to pay the Class members for their work;

          Typicality

          143.         Plaintiffs’ claims are typical of those claims which could be alleged by any member

  of the Class, and the relief sought is typical of the relief that would be sought by each member of


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  the Class in separate actions. All the Class members were subject to the same corporate practices

  of Defendants, as alleged herein, of failing to pay overtime compensation. Defendants’ corporate

  wide policies and practices affected all Class members similarly, and Defendants benefited from

  the same type of unfair and/or wrongful acts as to each Class member. Plaintiffs and other Class

  members sustained similar losses, injuries and damages arising from the same unlawful policies,

  practices and procedures.

          Adequacy

          144.       Plaintiffs are able to fairly and adequately protect the interests of the Class and have

  no interests antagonistic to the Class. Plaintiffs are represented by attorneys who are experienced

  and competent representing Plaintiffs in both class action and wage and hour employment

  litigation cases.

  Superiority

          145.       A class action is superior to other available methods for the fair and efficient

  adjudication of the controversy, particularly in the context of wage and hour litigation where

  individual Class members lack the financial resources to vigorously prosecute a lawsuit against

  Entity Defendants. Class action treatment will permit a large number of similarly situated persons

  to prosecute their common claims in a single forum simultaneously, efficiently, and without the

  unnecessary duplication of efforts and expenses that numerous individual actions engender.

  Because the losses, injuries, and damages suffered by each of the individual Class members are

  small in the sense pertinent to a class action analysis, the expenses and burden of individual

  litigation would make it extremely difficult or impossible for the individual Class members to

  redress the wrongs done to them. Further, important public interests will be served by addressing

  the matter as a class action. The adjudication of individual litigation claims would result in a great

  expenditure of Court and public resources; however, treating the claims as a class action would


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  result in a significant saving of these costs. The prosecution of separate actions by individual

  members of the Class would create a risk of inconsistent and/or varying adjudications with respect

  to the individual members of the Class, establishing incompatible standards of conduct for

  Defendants and resulting in the impairment of class members’ rights and the disposition of their

  interests through actions to which they were not parties. The issues in this action can be decided

  by means of common, class-wide proof. In addition, if appropriate, the Court can, and is

  empowered to, fashion methods to efficiently manage this action as a class action.

          146.    Upon information and belief, Defendants and other employers throughout the state

  violate the New York Labor Law. Current employees are often afraid to assert their rights out of

  fear of direct or indirect retaliation. Former employees are fearful of bringing claims because

  doing so can harm their employment, future employment, and future efforts to secure employment.

  Class actions provide class members who are not named in the complaint a degree of anonymity

  which allows for the vindication of their rights while eliminating or reducing these risks.

                                    STATEMENT OF CLAIMS

                                            COUNT I.
                      [Violations of the Fair Labor Standards Act—Minimum Wage
                        Brought on behalf of the Plaintiff and the FLSA Collective]

          147.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          148.    At all relevant times, Defendants had a policy and practice of refusing to pay the

  statutory minimum wage to Plaintiffs, and the similarly situated collective action members, for

  some or all of the hours they worked.

          149.    The FLSA provides that any employer who violates the provisions of 29 U.S.C.

  §206 shall be liable to the employees affected in the amount of their unpaid minimum

  compensation, and in an additional equal amount as liquidated damages.


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          150.    Defendants knowingly and willfully disregarded the provisions of the FLSA as

  evidenced by failing to compensate Plaintiffs and Collective Class Members at the statutory

  minimum wage when they knew or should have known such was due and that failing to do so

  would financially injure Plaintiff and Collective Action members.

                                            COUNT II.
                            [Violation of New York Labor Law—Minimum Wage
                              Brought on behalf of Plaintiff and Rule 23 Class]

          151.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          152.    At all relevant times, Plaintiffs were employed by Defendants within the meaning

  of New York Labor Law §§2 and 651.

          153.    At all relevant times, Defendants had a policy and practice of refusing to pay the

  statutory minimum wage to Plaintiffs, and the collective action members, for some or all of the

  hours they worked.

          154.    Defendants knowingly and willfully violated Plaintiffs’ and similarly situated

  Class Members’ rights by failing to pay him minimum wages in the lawful amount for hours

  worked.

          155.    An employer who fails to pay the minimum wage shall be liable, in addition to the

  amount of any underpayments, for liquidated damages equal to twenty five percent (25%) of the

  shortfall under NYLL §§190 et seq., §§650 et seq., and one hundred percent (100%) after April

  9, 2011 under NY Wage Theft Prevention Act, and interest.

                                            COUNT III.
                       [Violations of the Fair Labor Standards Act—Overtime Wage
                        Brought on behalf of the Plaintiff and the FLSA Collective]

          156.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.


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          157.   The FLSA provides that no employer engaged in commerce shall employ a covered

  employee for a work week longer than forty (40) hours unless such employee receives

  compensation for employment in excess of forty (40) hours at a rate not less than one and one-half

  times the regular rate at which he or she is employed, or one and one-half times the minimum

  wage, whichever is greater. 29 USC §207(a).

          158.   The FLSA provides that any employer who violates the provisions of 29 U.S.C.

  §207 shall be liable to the employees affected in the amount of their unpaid overtime compensation,

  and in an additional equal amount as liquidated damages. 29 USC §216(b).

          159.   Defendants’ failure to pay Plaintiffs and the FLSA Collective their overtime pay

  violated the FLSA.

          160.   At all relevant times, Defendants had, and continue to have, a policy of practice of

  refusing to pay overtime compensation at the statutory rate of time and a half to Plaintiffs and

  Collective Action Members for all hours worked in excess of forty (40) hours per workweek, which

  violated and continues to violate the FLSA, 29 U.S.C. §§201, et seq., including 29 U.S.C.

  §§207(a)(1) and 215(a).

          161.   The FLSA and supporting regulations required employers to notify employees of

  employment law requires employers to notify employment law requirements. 29 C.F.R. §516.4.

          162.   Defendants willfully failed to notify Plaintiffs and FLSA Collective of the

  requirements of the employment laws in order to facilitate their exploitation of Plaintiffs’ and

  FLSA Collectives’ labor.

          163.   Defendants knowingly and willfully disregarded the provisions of the FLSA as

  evidenced by their failure to compensate Plaintiff and Collective Class Members the statutory

  overtime rate of time and one half for all hours worked in excess of forty (40) per week when they




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  knew or should have known such was due and that failing to do so would financially injure

  Plaintiffs and Collective Action members.

                                             COUNT IV.
                              [Violation of New York Labor Law—Overtime Pay
                               Brought on behalf of Plaintiff and Rule 23 Class]


          164.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          165.    An employer who fails to pay the minimum wage shall be liable, in addition to the

  amount of any underpayments, for liquidated damages equal to twenty five percent (25%) before

  April 9, 2011 and one hundred percent (100%) under NY Wage Theft Prevention Act, and interest.

          166.    At all relevant times, Defendants had a policy and practice of refusing to pay the

  overtime compensation to Plaintiffs at one and one half times the hourly rate the Plaintiff and the

  class are entitled to.

          167.    Defendant’ failure to pay Plaintiffs their overtime pay violated the NYLL.

          168.    Defendants’ failure to pay Plaintiffs were not in good faith.

                                             COUNT V.
                            [Violation of New York Labor Law—Spread of Time Pay
                                Brought on behalf of Plaintiff and Rule 23 Class]

          169.    Plaintiffs re-allege and incorporate by reference all preceding paragraphs as

  though fully set forth herein.

          170.    The NYLL requires employers to pay an extra hour’s pay for every day that an

  employee works an interval in excess of ten hours pursuant to NYLL §§190, et seq., and §§650,

  et seq., and New York State Department of Labor regulations §146-1.6.

          171.    Defendants’ failure to pay Plaintiffs spread-of-hours pay was not in good faith.




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                                           COUNT VI.
                   [Violation of New York Labor Law—Failure to Provide Meal Periods
                              Brought on behalf of Plaintiff and Rule 23 Class]

          172.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as

  though fully set forth herein.

          173.     The NYLL requires that employees provide: a noon day meal period of at least

  thirty (30) minutes for employees who work a shift of more than six hours extending over the

  noon day meal period from 11 a.m. to 2 p.m.; an additional meal period between 5 p.m. and 7

  p.m. of at least twenty (20) minutes for employees whose shift started before 11 a.m. and

  continues later than 7 p.m.; and/or a forty-five (45) minute meal period at a time midway

  between the beginning and end of the shift for employees whose shift lasts more than six hours

  and starts between 1 p m. and 6 a.m. NYLL§ 162.

          174.     Defendants failed to provide meal periods required by NYLL §162 for every day

  that Plaintiffs and the Rule 23 class work or worked.

          175.     Though the Department of Labor commissioner may permit a shorter time to be

  fixed for meal periods than hereinbefore provided, such permit must be in writing and be kept

  conspicuously posted in the main entrance of the establishment. No such permit is posted.

          176.     Defendants’ failure to provide the meal periods required by NYLL §162 was not

  in good faith.

                                          COUNT VII.
                   [Violation of New York Labor Law—Record-Keeping Requirements
                             Brought on behalf of Plaintiff and Rule 23 Class]

          177.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          178.     Defendants did not maintain, establish and preserve Plaintiffs’ weekly payroll

  records for a period of not less than six years, as required by NYRR § 146-2.1.


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          179.      In fact, Defendants shaved time off of Plaintiffs’ time records.

          180.      As a result of Defendants’ unlawful conduct, Plaintiffs have sustained damages

  including loss of earning, in an amount to be established at trial, liquidated damages, prejudgment

  interest, costs and attorneys’ fee, pursuant to the state law.

          181.      Upon information and belief, Defendants failed to maintain adequate and accurate

  written records of actual hours worked and true wages earned by Plaintiff in order to facilitate their

  exploitation of Plaintiffs’ labor.

          182.      Defendants’ failure to maintain adequate and accurate written records of actual

  hours worked and true wages earned by Plaintiffs were not in good faith.


                                             COUNT VIII.
                 [Violation of New York Labor Law—Time of Hire Wage Notice Requirement
                                Brought on behalf of Plaintiff and Rule 23 Class]

          183.      Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          184.      The NYLL and supporting regulations require employers to provide a full and

  accurate written notice of the rate or rates of pay and the basis thereof, whether paid by the hour,

  shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as a part of

  minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by the

  employer; the name of the employer; any “doing business as” names used by the employer; the

  physical address of employer’s main office or principal place of business, and a mailing address if

  different; the telephone number of the employer. NYLL §195-1(a).

          185.      Defendants intentionally failed to provide notice to employees in violation of New

  York Labor Law § 195, which requires all employers to provide written notice in the employee’s

  primary language about the terms and conditions of employment related to rate of pay, regular pay



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  cycle and rate of overtime on their or her first day of employment.

          186.     Defendants not only did not provide notice to each employee at Time of Hire, but

  failed to provide notice to Plaintiffs even after the fact.

          187.     Due to Defendants’ violations of New York Labor Law, Plaintiffs are entitled to

  recover from Defendants, jointly and severally, $50 for each workday that the violation occurred

  or continued to occur, up to $5,000, together with costs and attorneys’ fees pursuant to New York

  Labor Law. N.Y. Lab. Law §198(1-b).

                                           COUNT IX.
                   [Violation of New York Labor Law—New York Pay Stub Requirement
                              Brought on behalf of Plaintiff and Rule 23 Class]

          188.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          189.     The NYLL and supporting regulations require employers to provide detailed

  paystub information to employees every payday. NYLL §195-1(d).

          190.     Defendants have failed to make a good faith effort to comply with the New York

  Labor Law with respect to compensation of each Plaintiff, and did not provide the paystub on or

  after each Plaintiffs’ payday.

          191.     Due to Defendants’ violations of New York Labor Law, each Plaintiffs are entitled

  to recover from Defendants, jointly and severally, $250 for each workday of the violation, up to

  $5,000 for each Plaintiff together with costs and attorneys’ fees pursuant to New York Labor Law.

  N.Y. Lab. Law §198(1-d).

                                             COUNT X.
            [Civil damages for fraudulent filing of IRS returns. Violations of 26 USC §7434
                                  Brought on behalf of the Plaintiff]

          192.     Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.


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          193.        26 USC §7434 provides that if any person willfully files a fraudulent information

  return with respect to payments purported to be made to any other person, such other person may

  bring a civil action for damages against the person so filing such a return.

          194.        Due to Defendants’ violations of 26 USC §7434, Plaintiffs are entitled to recover

  from Defendants, jointly and severally: (1) any actual damages sustained by the plaintiffs as a

  proximate result of the filing of the fraudulent information return (including any costs attributable

  to resolving deficiencies asserted as a result of such a filing), (2) the cost of the action, and (3) in

  the court’s discretion, reasonable attorneys’ fees.

                                              COUNT XI.
                 [Civil damages for Deceptive Acts and Practices. Violations of New York General
                                               Business Law §349
                                        Brought on behalf of the Plaintiff]

          195.        Plaintiffs re-allege and incorporate by reference all preceding paragraphs as though

  fully set forth herein.

          196.        NY General Business Law §349 provides that if any person willfully files a

  fraudulent information return with respect to payments purported to be made to any other person,

  such other person may bring a civil action for damages against the person so filing such a return.

          197.        Due to Defendants’ violations of NY GBS Law §349, Plaintiffs are entitled to

  recover from Defendants, jointly and severally, their actual damages or fifty dollars ($50),

  whichever is greater, or both such actions.

          198.        Plaintiffs demand the right to examine, in person or by attorney, the minutes of the

  proceedings of the shareholders and records of shareholders of Defendant Corporation to recover

  wages owed as employees of the corporation.

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs, on their own behalves, and on the behalf of the FLSA Collective



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  Plaintiffs and Rule 23 Class, respectfully requests that this Court enter a judgment providing the

  following relief:

             a) Authorizing Plaintiffs at the earliest possible time to give notice of this collective

          action, or that the Court issue such notice, to all persons who are presently, or have up

          through the extent allowable under the statute of limitations and including the date of

          issuance of court-supervised notice, been employed by Defendants as non-exempt

          employees. Such notice shall inform them that the civil notice has been filed, of the nature

          of the action, of their right to join this lawsuit if they believe they were denied premium

          overtime wages;

             b) Certification of this case as a collective action pursuant to FLSA;

             c) Issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated members

          of the FLSA opt-in class, apprising them of the pendency of this action, and permitting

          them to assert timely FLSA claims and state claims in this action by filing individual

          Consent to Sue forms pursuant to 29 U.S.C. § 216(b), and appointing Plaintiff and their

          counsel to represent the Collective Action Members;

             d) A declaratory judgment that the practices complained of herein are unlawful under

          FLSA and New York Labor Law;

             e) An injunction against Entity Defendants, its officers, agents, successors, employees,

          representatives and any and all persons acting in concert with them as provided by law,

          from engaging in each of unlawful practices and policies set forth herein;

             f) An award of unpaid minimum wage and overtime wages due under FLSA and New

          York Labor Law due Plaintiff and the Collective Action members plus compensatory and




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          liquidated damages in the amount of one hundred percent (100%) under NY Wage Theft

          Prevention Act;

             g) An award of liquidated and/or punitive damages as a result of Defendants’ knowing

          and willful failure to pay wages at least the hourly minimum wage, overtime compensation

          pursuant to 29 U.S.C. §216;

             h) Up to five thousand dollars ($5,000) per Plaintiff for Defendants’ failure to provide

          a Time of Hire Notice detailing rates of pay and payday;

             i) Up to five thousand dollars ($5,000) per Plaintiff for Defendants’ failure to provide

          a paystub that lists employee’s name, employer’s name, employer’s address and telephone

          number, employee’s rate or rates of pay, any deductions made from employee’s wages,

          any allowances claimed as part of the minimum wage, and the employee’s gross and net

          wages for each pay day;

             j) Reimbursement of reasonable out-of-pocket costs sustained by Plaintiffs and

          similarly situated deliverymen in the purchase, maintenance and repair of their delivery

          auto-bicycle in direct service of Defendants;

             k) An award of liquidated and/or punitive damages as a result of Defendants’ willful

          failure to overtime compensation, and “spread of hours” premium pursuant to New York

          Labor Law;

             l) An award of costs and expenses of this action together with reasonable attorneys’

          and expert fees pursuant to 29 U.S.C. §216(b) and NYLL §§198 and 663;

             m) The cost and disbursements of this action;

             n) An award of prejudgment and post-judgment fees;




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             o) Providing that if any amounts remain unpaid upon the expiration of ninety days

          following the issuance of judgment, or ninety days after expiration of the time to appeal

          and no appeal is then pending, whichever is later, the total amount of judgment shall

          automatically increase by fifteen percent, as required by NYLL §198(4); and

             p) Such other and further legal and equitable relief as this Court deems necessary, just,

          and proper.


  Dated: Flushing, New York
  April 11, 2019
                                                       TROY LAW, PLLC
                                                       Attorneys for the Plaintiffs, proposed FLSA
                                                       Collective and Proposed Class Plaintiffs



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